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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

JULIE HUNGER AND COMPLAINANTS
cHARLEs HUNGER

vs. cIVIL ACTION No
QUEsT DIAGNosncs cLINICAL DEFENDANTS

LABORATORIES, INC., XYZ INSURANCE
COMPANY, AND ABC EMPLOYEE

FILED:

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COMPLAINT

Complainants invoke the jurisdiction of this Court as established under Title 28,

section 1332 of the Unired states code

The following named parties are complainants herein, to-wit:

1. Julie Hunger, a person of full age and maj ority_and a resident of the State of Mississippi;

2. Charles I-Iunger, a person of full age and majority and a resident of the State of Mississippi.

The above named petitioners respectfully represent as follows, to-wit:

l.
The following named parties are made defendants herein, to-wit:

(a) QUEST DIAGNOSTICS CLINICAL LABORATOR_IES, INC

., a foreign corporation

domiciled in the State of Delaware, and authorized to do and doing business in the State

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of Louisiana (hereinafter referred to as “Quest”);

(b) XYZ INSURANCE COMPANY, a currently unknown insurance company authorized

to do and doing business in the State of Louisiana; and

(c) ABC EMPLOYEE, a currently unknown employee of defendant, Quest Diagnostics

Clinical Laboratorics, Inc.

II.

The above named defendants are responsible and liable jointly, severally, solidarin and

vicariously to petitioners because of the following:
III.

This action results from an incident which occurred in Slidell, St. Tammany Parish,
Louisiana on or about June 12, 2006.

IV.

Petitioner, Julie Hunger, was a business invitee of Quest, located at 3?0 Gateway Drive,
Slidell, Louisiana 70461, and was present to have routine blood work performed While said
procedure was being performed, ABC Employee of Quest failed to secure the needle property
while inserting a second blood vial which caused the needle to be pushed deep into

complainant’s right arm.

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V.

As a result of the negligence andfor improper care and/or breach of the applicable
standard of care of Quest andfor ABC Employee, complainant, Julie Hunger, suffered and
continues to suffer multiple personal, psychological and emotional injuries of a past, present, and
continuing nature.

VI.

Complainant, Julie Hunger, has undergone medical treatment since the accident and will
undergo further treatrnent. Complainant was and still is limited from her normal activities as a
result of the accident. The injuries cause her pain and discomfort in her employment as an office
manager and as an award winning artist.

VII.

The sole and proximate cause of the injuries and damages sustained by complainant was
the individual, joint, solidary, concurrent and/or successive negligence and/or improper care
andfor breach of applicable standard of care of Quest andfor ABC Employee, which negligence
andfor improper care and¢"or breach of the applicable standard of care includes but is not limited
to, to-wit: n

(a) failure to properly train its employees in the correct and proper procedure to draw
blood;

(b) negligently and carelessly failed to properly train its employees to make sure a needle

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is property secured in a patient’s arm;

(c) failure to be attentive;

(d) negligently and carelessly failing to develop, promulgate, adopt, and/or implement

safety policies, procedures and practices for their employees;

(e) negligently and carelessly failing to screen and test their employees periodically to
monitor and evaluate their safety orientation;

(t) failing to properly insert a hypodermic needle into the arm of petitioner for the purpose
of drawing blood;

(g) insertion of a hypodermic needle into the ann of petitioner improperly and!or
n too deeply; and

(h) any such other negligence or gross negligence and violations of rules, regulations,
and statutes as may be shown at the trial of this matter.

VIII.

Julie I-Iunger itemizes the damages to which she is entitled as a result of the accident and
injury proximately caused by the above described negligence of Quest and/or ABC Employee as
follows, to-wit:

(a) Past physical pain, suffering and discomfort;

(b) Past mental anguish, aggravation, and annoyance;

(c) Disability;

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(d) Future physical pain, suffering and discomfort;

(e) Future mental anguish, aggravation and annoyance;

(i) Past medical expenses;

(g) Future medical expenses;

(h) Past lost wages;

(i) Future lost wages;

(j) Loss of enjoyment of life;

(k) Loss of use/function of parts of body;

(l) Bodily disability;

(m) Impairment of psychological functioning;

(n) Disability from working to earn an income;

(o) Destruction of earning capacity; and

(p) Disability from engaging in recreation

IX.

Complainant, Charles I-Iunger, because of the incident and injury to his wife, suffered and
continues to suffer loss of her consortium, companionship, society and friendship in that she is
not the same person that she was before the incident. Prior to the incident they had a very good
and close relationship. After the incident they often got into fights, they do not have the same
marital relationship that they had prior to the accident, and she becomes easily aggravated and
annoyed causing dissent and discord in their family and marriage The incident and resulting

injury caused their marriage and their relationship to deteriorate and their intimate marital

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relationship also changed. Further, he was distressed at the prospect of her not being able to work
and worried their income would decrease. Further, he has experienced mental anguish over her

injury, and the prospect of future loss of income, means and livelihood

X.
Complainant, Charles Hunger, because of the injuries sustained by his wife, Julie Hunger,
itemizes the damages to which he is entitled to-wit:

(a) Deprivation of the companionship, love, affection, consortium, and society of
his wife;

(b) Grief, mental anguish and distress over his wife’s injuries;

(c) Grief, mental anguish and distress over his own injuries as a result of the
accident and injuries to his wife; and

(d) Loss of support
XI.
Complainants strictly reserve the right to amend and supplement this petition as necessary
concerning damages.
XII.
At the time of the accident ABC Employee was acting in the course and scope of his/her
employment with Quest as a technician As the employer of said employee, Quest is jointly,
severally, solidarin and vicariously liable and responsible to complainants for the acts of

negligence andfor improper care andfor breach of applicable standard of care and damages

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caused by its said employee during the course and scope of said employee’s employment
XIII.

Complainants further specifically pleads the doctrine of § i@ lpg_r_lit__ur in that the
accident and injuries and damages would not have occurred in absence of the negligence andfor
improper care and/or breach of the applicable standard of care of Quest and/or its employees,
including but not limited to, ABC Employee.

XIV.

Quest and/or its employees, including ABC Employee, are jointly, severally, solidarin
and vicariously liable and responsible to complainants for the negligence and damages set forth
above.

XV.

Defendant(s) is/are also vicariously, solidarily, jointly and severally liable to
complainants under the Doctrine of Strict Liability as expressed in the Louisiana Civil Code,
particularly Articles 660, 2317 et seq., and 2322. Defendant(S) had garcia of the medical
procedures at all times material hereto. Defendant(s) knew or, in the exercise of reasonable care,
should have know that the damage could have been prevented by the exercise of reasonable care,
and that defendant(s) failed to exercise such reasonable care.

XVI.

XYZ Insurance Company issued a policy of public liability insurance insuring against the

negligence complained of herein on the date of the incident in favor of Quest and it's employees,

including, but not limited to, ABC Employee. As the insurer of the defendants, said insurer is

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jointly, severally, solidarily, and vicariously liable and responsible for the damages and _
negligence set forth above.
XVII.
Complainants allege the amount in controversy exceeds $75,000.00, the jurisdictional

amount for diversity jurisdiction

WHEREFORE, complainants pray that defendants be cited and served and that after due
proceedings are had there be judgment in favor of complainants, Julie Hunger and Charles
Hunger, and against the defendants, Quest Diagnostics Clinical Labcratories, Inc., ABC
Employee, and XYZ Insurance Company, jointly, severally, solidarin and vicariously for such
sums as are reasonable in the premises together with legal interest thereon from date of judicial
demand until paid and for all costs of these proceedings

AND FOR ALL GENERAL AND EQUITABLE RELIEF.

AND THAT ALL EXPERT WITNESS FEES BE TAXED AS COSTS OF COURT.

Respectfully submitted,
MICHAEL HINGLE & ASSOCIATES, LLC

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Michaei `inngle, T.A. #6943
Bryan Pfleeger, #23896
Michael K. Chapman, #2?994
For the Firrn

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Slidell, LA ?0458

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PLEASE SERVE:

QUEST DIAGNOSTICS CLINICAL LABORATORIES, INC.
through its agent for service of process

National Registered Agents, Inc.

1280 Clausel Street

Mandeville, La. 70448

XYZ INSURANCE COMPANY

ABC EMPLOYEE

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UNITED STATES DISTRICT COURT

EASTERN DISTR_ICT OF LOUISIANA

JULIE I-IUNGER AND COMPLAINANTS
CI'IARLES l-IUNGER

VS. CIVIL ACTION NO.:
QUES'I` DIAGNOSTICS CLINICAL DEFENDANTS

LABORATORIES, l'NC., XYZ INSURANCE
COMPANY, AND ABC EMPLOYEE

FILED:

 

 

DEPUTY CLERK

NOTICE OF ADDRESS ASSIGNMENT
TO: CLERK OF COURT:
YOU ARE HEREBY requested to send to us as Attorney of Record in the above
captioned case, notice of any judgment, order, or minute entry of this Court rendered in this case
to the following address it is associated with.

Michael Hingle & Associates, LLC
220 Gause Boulevard, Suite 200
Slidell, LA 70458

Respectfully submitted,

MICHAEL HlNGLE & ASSOCIATES, LLC

/'%%,//r'. CJ._,

Michael Hingle, T.A. #6943
Michael K. Chapman, #2?994
Bryan Pfleeger, #23 896

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